Case 1:23-cv-10786-WGY Document 69 Filed 09/19/24 Page 1of4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CALAMAR CONSTRUCTION
SERVICES, INC.,

Plaintiff,

CIVIL ACTION
NO. 23-10786-WGY

Vv.

THE MASHPEE WAMPANOAG VILLAGE
LIMITED PARTNERSHIP, and
RAYMOND JAMES AFFORDABLE
HOUSING INVESTMENTS, INC.,

Defendants.

Mee eee ee ee ee ee ee

YOUNG, D.J. September /?, 2024

ORDER

This Court has an independent obligation to inquire sua
sponte into its own subject matter jurisdiction. McCulloch v.
Velez, 364 F.3d 1, 5 (1st Cir. 2004). “If the court determines
at any time that it lacks subject-matter jurisdiction, the court
must dismiss the action.” Fed. R. Civ. P. 12(h)(3). At the
September 17, 2024 hearing on the defendants’ motions to
dismiss, the Court raised the issue, as it must, as to whether
the Court has subject matter jurisdiction over this action
because there appears to be no diversity under 28 U.S.C. §

1332 (a) (1).
Case 1:23-cv-10786-WGY Document 69 Filed 09/19/24 Page 2 of 4

Plaintiff Calamar Construction Services, Inc. (“Calamar”)
has the burden of establishing jurisdiction, and in this action,
subject matter jurisdiction is premised solely upon diversity
jurisdiction pursuant 28 U.S.C. 1332(a) (1). Am. Compl. 7 1.
Pursuant to Section 1332 (a) (1):

The district courts shall have original jurisdiction
of all civil actions where the matter in controversy
exceeds the sum or value of $75,000, exclusive of
interest and costs, and is between -- .. . citizens
of different states...

28 U.S.C.A. § 1332(a) (1). To establish diversity jurisdiction,
the parties must be completely diverse. That is, the plaintiffs
must be citizens of a different state than all of the

defendants. ConnectU LLC v. Zuckerberg, 522 F.3d 82, 91 (1st

Cir. 2008).
The presence of a jurisdictionally stateless party, such as

an Indian tribe, destroys diversity jurisdiction. Ninigret Dev.

Corp. v. Narragansett Indian Wetuomuck Hous. Auth., 207 F.3d 21,

27 (lst Cir. 2000) (“[NJotwithstanding the joinder of other
diverse parties, the presence of an Indian tribe destroys
complete diversity”). Indeed, as the defendant the Wampanoag
Village Limited Partnership (“Village LP”) correctly points out,
albeit in the context of its arguments as to tribal sovereign
immunity, “[t]he [Mashpee Wampanoag] Tribe is not a citizen of

any state and cannot sue or be sued in federal court under
Case 1:23-cv-10786-WGY Document 69 Filed 09/19/24 Page 3of4

diversity jurisdiction.” Village LP’s Mem. Supp. Mot. Dismiss
Pi.’s Amend 12, ECF No. 38.

A corollary to this principle is that if a party is a
limited partnership, and a partner is an Indian tribe -- a
jurisdictional stateless entity -- that limited partnership
becomes a stateless party for purposes of diversity
jurisdiction, and diversity is destroyed. Said differently, if
a limited partnership has a “partner that is either a stateless
person or an entity treated like a stateless person, [the Court]
would not have diversity jurisdiction over this matter.” D.B.

Zwirn Spec. Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124,

127 (lst Cir. 2011); see BRT Mgt., LLC v. Malden Storage, LLC,

No. CV 17-10005-FDS, 2023 WL 8719961, at *4 (D. Mass. Dec. 18,
2023) (Saylor, C.J.) (“The citizenship of a general or limited
partnership is determined by the citizenship of all of its

members.”) (citing Pramco, LLC ex rel. CFSC Consortium, LLC v.

San Juan Bay Marina, Inc., 435 F.3d 51, 54 (1st Cir. 2006)). So

it is here.

Calamar alleges in its Amended Complaint that Village LP is
a Massachusetts limited partnership with two partners: (1) a
general partner, “the Mashpee Wampanoag Tribe, a federally
recognized Indian Tribe located in Mashpee, Massachusetts,” and
(2) a limited partner, “RJAHF 11-Wampanoag Village #1 LLC, a

Florida Limited Liability Corporation.” Am Compl. 7 4. On the

[3]
Case 1:23-cv-10786-WGY Document 69 Filed 09/19/24 Page 4of4

face of the Amended Complaint, the general partner of Village LP
is an Indian tribe -- a jurisdictionally stateless entity -- and
therefore, the Village LP is, in turn, a jurisdictionally
stateless entity. As the Court ordered at the hearing, there is
no diversity jurisdiction under 28 U.S.C. § 1332. The action
was, and is, therefore DISMISSED for lack of subject matter
jurisdiction pursuant to Rule 12(h). The Clerk is directed to
enter a separate order of dismissal and close the case.

SO ORDERED.

Ein 4 bourg
WILLIAM G. Poy
DISTRICT JUUGE

[4]
